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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             EASTERN DIVISION

BORADCAST MUSIC, INC., et al.,      )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                    )                       CASE NO. 3:19-cv-26-SRW
MCBRIDE ENTERTAINMENT, LLC,         )
d/b/a THE BUCK WILD SALOON, et al., )
                                    )
     Defendants.                    )

                                          ORDER

       This matter is before the court on plaintiffs’ notice of dismissal (Doc. 6) without

prejudice, which is filed pursuant to Federal Rule of Civil Procedure 41(a)(1). Upon

consideration of the same, it is hereby

       ORDERED that the Clerk of Court is DIRECTED to close this case. See Anago

Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).

       Done, on this the 5th day of March, 2019.

                                                       /s/ Susan Russ Walker
                                                       Susan Russ Walker
                                                       United States Magistrate Judge
